
*617OPINION.
Smith :
The only issue before us in this proceeding is the constitutionality of the gift-tax provisions of the Revenue Act of 1924 as applied to a gift made on December 26, 1924, subsequent to the effective date of the Act. This question has been answered adversely to the claim of the petitioner by the United States Supreme Court in Blodgett v. Holden, 275 U. S. 142, 276 U. S. 594; McNeir v. Anderson, 275 U. S. 577; Untermyer v. Anderson, 276 U. S. 440; O'Connor v. Anderson, 280 U. S. 85a; and Bromley v. McCaughn, 280 U. S. 124. Consequently, the issue must be resolved in favor of the respondent.

Judgment voill Toe entered for the respondent,

